Case 4:19-cv-07123-PJH   Document 480-2   Filed 12/11/24   Page 1 of 41




               (;+,%,7$
    Case 4:19-cv-07123-PJH        Document 480-2       Filed 12/11/24       Page 2 of 41




                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA

                                   OAKLAND DIVISION


WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
and FACEBOOK, INC., a Delaware
corporation,

              Plaintiffs,

       v.

NSO GROUP TECHNOLOGIES LIMITED
and Q CYBER TECHNOLOGIES LIMITED,

              Defendants.



                             REPORT OF JOHN “JAY” TOWN




                                           1
          Case 4:19-cv-07123-PJH                           Document 480-2                     Filed 12/11/24                 Page 3 of 41




                                                         TABLE OF CONTENTS



I.           INTRODUCTION ........................................................................................................................... 3

II.          QUALIFICATIONS ........................................................................................................................ 3

III.         INFORMATION CONSIDERED ................................................................................................... 5

IV.          DISCUSSION .................................................................................................................................. 6

             A.         Lawful Interception Is an Important Tool ........................................................................... 6

             B.         Lawful Interception Is Permitted in the United States and in Other Countries .................. 9

             C.         Modern Surveillance Tools are Similar to Older Lawful Intercept Tools ........................ 17

             D.         Intercept Technologies Such as Pegasus Provide Enormous Public Benefits .................. 21

             E.         Some Vendors Place Discretionary Restrictions on the Use of Surveillance
                        Technology ....................................................................................................................... 22

     9$33(1',;,&92)-$<(72:1

     9,$33(1',;,,/,672),1)250$7,21&216,'(5('




                                                                             2
        Case 4:19-cv-07123-PJH        Document 480-2         Filed 12/11/24       Page 4 of 41




I.       INTRODUCTION

        1.     My name is John “Jay” Town. I have been engaged to offer testimony based on

my experience with the use of surveillance technology in law enforcement, addressing: (1) the

importance of lawful intercept technologies in law enforcement and national security operations;

(2) the lawful interception of electronic communications being permitted in the United States and

elsewhere; (3) the similarities between the Pegasus product developed by NSO Group

Technologies Limited (“NSO”), and similar software tools, and other available lawful-intercept

tools; (4) the benefits of tools such as Pegasus in law enforcement and national security

operations; and (5) safeguards that can be imposed to prevent unauthorized use of a surveillance

tool.

        2.      This report serves as an explanation of my understanding of the technology at

issue in this case and details my testimony concerning uses of such lawful intercept capabilities.

The views expressed herein are my own and are based on my investigation in this matter as well

as the education, experience, training, and skill I have accumulated as a lawyer and a law

enforcement official.

II.      QUALIFICATIONS

        3.     A copy of my curriculum vitae is attached as Appendix I. It includes my

qualifications, and a list of publications that I have authored (identified to the best of my

recollection) in the previous ten years.

        4.     I am the Vice President and General Counsel of Gray Analytics, a defense and

cybersecurity contractor in Huntsville, Alabama. Prior to joining Gray Analytics, I was the

presidentially-appointed, Senate-confirmed United States Attorney for the Northern District of

Alabama from 2017-2020. I began my career as a Judge Advocate in the United States Marines,
                                                  3
     Case 4:19-cv-07123-PJH          Document 480-2         Filed 12/11/24      Page 5 of 41




where I served from 1996 to 2008, both on active duty and in the reserves. Before my

appointment as United States Attorney, I was a prosecutor in the Madison County (Alabama)

District Attorney’s Office in Huntsville. The bulk of my career has been spent as a prosecutor,

working with various levels of law enforcement and members of the intelligence community on

the entire spectrum of investigations and prosecutions, including prosecutions of governmental

misconduct.

     5.        I have been involved in, provided oversight of, and led investigations where the

lawful interception or collection of communications, metadata, geolocation, and other types of

information was authorized for a law enforcement and/or national security purpose. I continue to

be involved in providing software applications to law enforcement or intelligence agencies that

involve artificial intelligence, machine learning, and advanced analytics relating to native, open-

source, and/or commercial data.

     6.        My career has been spent almost entirely in law enforcement as a prosecutor or in

service to law enforcement and military agencies. I have been involved in the prosecution of

more than 10,000 criminal defendants over the course of my career. I have experience obtaining

legal authority for the lawful interception of communications at the state and federal levels,

including authority by virtue of the Fourth Amendment, U.S. statutes such as the Wiretap Act,

and internal Department of Justice policies, as well as state wiretapping laws. I also have

experience navigating the judicial approval and oversight process for such lawful intercepts.

     7.        I have led and supervised complex investigations where sophisticated technical

capabilities were deployed, such as remote surveillance and the interception of communications.

I have also been involved in investigations where no such capabilities were available, but they


                                                 4
       Case 4:19-cv-07123-PJH        Document 480-2          Filed 12/11/24      Page 6 of 41




would have been helpful to the investigation had they been available. Accordingly, I am

generally familiar with existing lawful-intercept tools and the need for next-generation solutions

to address advancements in the technologies available to suspected criminals and terrorists.

       8.      As a former judge advocate, state prosecutor, and United States Attorney, I also

have experience with and am aware of accountability mechanisms when government agents

misuse lawful intercept technologies. In the United States, we have a robust system of holding

government agents who misuse authority for lawful interception accountable, including through

internal government agency investigations, investigations by inspectors general, and judicial

oversight of potential abuse.

       9.      I have not testified as an expert at trial or by deposition in any case during the

previous four years.

       10.     The content of this report is based on my experience as a prosecutor and a United

States Attorney involved in sophisticated investigations, task forces, and steering committees. It

is also rooted in my experience as a judge advocate in the United States Marine Corps. That

experience includes familiarity with intercept capabilities, legal standards, laws, and processes,

and accountability mechanisms for misconduct or abuses.

       11.     I am being paid $750/hour for my work in this case. My compensation is not

contingent upon the outcome of the case.

III.    INFORMATION CONSIDERED

       12.      A list of the materials and information I have considered specifically in

connection with this matter can be found in Appendix II, below.

       13.     I do not anticipate needing any exhibits, beyond the materials identified above, to

summarize, support, or aid my testimony. If this changes, I will provide any such exhibits.
                                                 5
      Case 4:19-cv-07123-PJH          Document 480-2         Filed 12/11/24      Page 7 of 41




IV.    DISCUSSION

       A.      LAWFUL INTERCEPTION IS AN IMPORTANT TOOL

      14.      The ability of law enforcement and our national security apparatus to lawfully

intercept communications is critical to public safety and national security. It is especially

important when criminal and terrorist activities are conceived, planned, and executed utilizing

mobile phones, networks, and encrypted messaging applications. The ability to investigate,

disrupt, and prosecute criminal activities is of immense benefit to both public safety and national

security. Detecting terrorist plots, economic and traditional espionage, organized crime, human

trafficking, and other criminal and violent activities is absolutely critical for law enforcement and

the intelligence community.

      15.      Access to communications has been a crucial aspect of keeping the homeland

secure since the inception of the United States. As far back as Paul Revere, the interception of

enemy communications has been critical to our successful protection of the United States. The

lawful intercept of communications enabled law enforcement to bring down the Mafia and other

organized crime groups.

      16.       The lawful intercept of communications enabled law enforcement to prevent or

furthered the successful prosecution of defendants involved in violent crimes and other criminal

activities. The lawful intercept of communications has enabled law enforcement and the

intelligence community to thwart terrorist activities. The lawful intercept of communications has

allowed the American military to identify and neutralize targets with precision or provide troops

in a forward position the ability to avoid or counter enemy contact.


                                                  6
     Case 4:19-cv-07123-PJH          Document 480-2         Filed 12/11/24      Page 8 of 41




     17.       On several occasions throughout my career, intercepting communications resulted

in preventing additional criminal activity and the eventual conviction and sentencing of the

criminal actors. The sophistication of the technology aiding these investigations and prosecutions

varied from cell site location information to Title III wiretap intercepts to communications

collected under the Foreign Intelligence Surveillance Act (FISA). Such lawful intercepts resulted

in solving or proving the essential elements of the criminal offenses. For instance, murders were

solved and proven. Terrorist attacks were thwarted. As a result, public safety and national

security was improved, which may have not been the case without the lawful intercepts. The

intercept of enemy communications not only provides targeting capabilities which allow military

assets to neutralize enemy threats, but also to avoid the enemy in the theater of operations.

     18.       A specific instance of an investigation where the lawful interception of

communications was vital to public safety and national security involved an individual planning

a terrorist attack at a holiday parade in a major population center. The targets of the attack would

have been innocent men, women, and children attending the parade and celebrating the holiday.

This activity, to include the planning, timing, and method of terror, would not have been

accurately detected but for the deployment of lawful intercept technology.

     19.       Conversely, the inability of law enforcement or intelligence agencies to intercept

such communications lawfully is highly detrimental to public safety and national security.

     20.       The inability to use sophisticated technology to conduct the lawful interception of

communications puts law enforcement agents in jeopardy. Without such technical capabilities,

whether wiretap or software, law enforcement instead may incur very serious risks to officer

safety by embedding an officer, sometimes for years, inside a criminal organization to gain


                                                 7
     Case 4:19-cv-07123-PJH          Document 480-2         Filed 12/11/24      Page 9 of 41




similar intelligence. Without such technical capabilities, whether hardware or software, the

gathering of intelligence is left to human intelligence, which is a tactic extending back perhaps

thousands of years. Without such technical capabilities, whether hardware or software, law

enforcement instead may only employ outdated technology such as a notepad, binoculars, and an

unmarked vehicle. Even 20th century technology such as a recording device carried by an

informant is outdated. Without advanced technical capabilities, whether hardware or software,

law enforcement instead deploys all of the above to counter next generation technology used and

deployed quite effectively by criminals, criminal organizations, and terrorists. American law

enforcement and intelligence agencies must be able to deploy lawful technology and tools to

counter wrongdoers. Criminal and terrorist actors are aware of the technologies deployed by law

enforcement and the intelligence community and counter with increasingly sophisticated

technologies designed to defeat detection, intercept, or capture.

     21.       Law enforcement and the intelligence community engage in the lawful intercept

of communications of subjects of investigations, criminals, and terrorists every day. From

something as simple as recording jail calls or single-consent recordings to the interception of

communications wiretaps under Title III or the Foreign Intelligence Surveillance Act (“FISA”),

the lawful intercept of communications provides valuable investigative leads, evidence, and

predictive capabilities that improve public safety and national security.

     22.       In my experience, the lawful interception of communications is a significant force

multiplier to any investigation. Evidence introduced from the lawful interception of certain

communications is often critical in subsequent criminal prosecutions. Indeed, without the lawful

interception of certain communications, investigations often would have insurmountable hurdles


                                                 8
    Case 4:19-cv-07123-PJH           Document 480-2        Filed 12/11/24      Page 10 of 41




and additional investigative measures would not have been successful. It is my experience that

such communications are often of such great import and probative significance as evidence that

many defendants admit their guilt.

     23.       The lawful interception of certain communications is also critical to detecting,

disrupting and prosecuting terrorist activities. Without such tools, there would be significant

counterterrorism gaps to the detriment of innocent people, the homeland, and national security.

     24.       Overall, deploying technical tools to enhance investigations significantly and

positively impacts public safety and national security. Criminal organizations, terrorist

organizations, and other bad actors increasingly use sophisticated technical capabilities. Law

enforcement and the intelligence community must possess access to the technical capabilities

necessary to counter these capabilities. End-to-end encryption of devices and applications is a

major impediment to law enforcement and the intelligence community.

     25.       The lawful interception of certain communications provides law enforcement and

the intelligence community the ability to effectively conduct public safety and/or national

security missions. Based on my experience, the absence of such capabilities to intercept

communications lawfully puts law enforcement at a disadvantage and weakens public safety and

national security postures.

       B.      LAWFUL INTERCEPTION IS PERMITTED IN THE UNITED STATES
               AND IN OTHER COUNTRIES

     26.       Lawful intercept, including interception of electronic communications and similar

or related information, are permitted by many, if not most, countries. Lawful interception

techniques are permissible in the United States, the State of California, and many international



                                                 9
    Case 4:19-cv-07123-PJH          Document 480-2         Filed 12/11/24     Page 11 of 41




jurisdictions, such as those of our allies and other democracies if used by appropriate law

enforcement or security agencies.

     Lawful Surveillance Is Used by the United States

     27.       The United States has always engaged in the interception of communications for

law enforcement and national security purposes. The U.S. Constitution and laws require that

every lawful intercept be defined and proportional, with many accompanying legal and internal

requirements by those agencies deploying such intercepts. There are many statutory rubrics for

the law interception of communications, such as Title III wiretaps, FISA, and state wiretap laws,

discussed herein.

     28.       Title III of the Electronic Communications Protection Act (18 U.S.C. 2510, et

seq.) has certain requirements that must be met before a wiretap may issue.

     29.       First, the Title III application must be prepared by an affiant law enforcement

agent who has developed the probable cause necessary to support a wiretap. The application

then must be signed, under oath, by a United States Attorney or their designee.

     30.       Next, the Title III application must be presented to a federal judge with an

accompanying memorandum of law describing the legal authority under which the judge may

authorize a Title III wiretap.

     31.       The application must particularly describe what types of communication(s) are to

be lawfully intercepted. This could include traditional telephones, cellular phones, text

messages, application messages, emails, and aural transfers. This can also include financial

transfers and transactions.




                                                10
    Case 4:19-cv-07123-PJH           Document 480-2         Filed 12/11/24      Page 12 of 41




     32.       Moreover, the application must particularly describe the probable cause for the

specific, predicated offense or offenses. The Electronic Communications Protection Act

(“ECPA”) has specific requirements, depending on the type of interception. If a place or facility

is to be the subject of the wiretap, it must be specifically, and often narrowly, described. If oral

or voice communications are to be the subject of the wiretap, there must be a strong justification

for such a “roving interception” and must be signed by a presidentially appointed Assistant

Attorney General or equivalent.

     33.       In some cases, investigation targets seek to frustrate a wiretap. For instance, a

“drop phone” describes a situation when targets of a wiretap, out of paranoia or belief, would

literally “drop” their mobile phones in the garbage and begin using a new phone and number.

This obviously frustrates a wiretap on the dropped phone. To avoid this pitfall, law enforcement

agencies submitting the application must specifically ask the court for permission to target any

phone used by the target of the wiretap through a roving wiretap. Failure to do so will result in

the necessity for another wiretap application. A roving wiretap of oral or voice communications

will only be authorized, however, if the roving wiretap is the least intrusive means and the

information cannot be gathered by other less intrusive means.

     34.       This is an example of how the technology deployed by law enforcement can be

simply defeated by the criminal element. Additionally, it is an example as to why law

enforcement must continually deploy more sophisticated capabilities to keep up with, or stay

ahead of, those who threaten public safety or national security.

     35.       The predicated offenses under investigation must also be particularly described.

By DOJ Criminal Division policy, and often court requirements, all known individuals involved


                                                 11
    Case 4:19-cv-07123-PJH            Document 480-2         Filed 12/11/24      Page 13 of 41




in the criminal activity must be included in the Title III application (even if their

communications are unlikely to be intercepted).

     36.       Often the most difficult hurdle of any wiretap application is the requirement that

the affidavit for the wiretap application affirm that all other means have been explored to gather

evidence for the predicated offense(s) before a wiretap application can even be submitted. This is

often difficult to show or prove to the satisfaction of a federal judge. Typically, it is known that

the other “less intrusive means” will be unsuccessful before they are attempted, but those

feckless means must be attempted nonetheless and to the satisfaction of not only the judge, but

the approving official.

     37.       Once approved by the court, the application and court order are distributed to the

service provider for intercept. The timeframes associated normally do not exceed a thirty-day

period. The lawful interception of communications under Title III is a careful balance between

probable cause and privacy.

     38.       The Foreign Intelligence Surveillance Act (“FISA”) provides another means by

which intelligence agencies can lawfully intercept communications. There has been much

scrutiny of the use of FISA. A good deal of the criticism has been of Section 702 of FISA,

discussed herein.

     39.       Generally, FISA provides that a law enforcement or intelligence agency, through

the Department of Justice, can submit an application for a FISA warrant to a judge sitting on a

specialized Foreign Intelligence Surveillance Court, or FISC. FISA provides the Government a

vehicle to seek authority to conduct electronic surveillance and/or physical searches for foreign

intelligence purposes. In order to persuade a court to grant a FISA warrant, there are many steps


                                                  12
    Case 4:19-cv-07123-PJH           Document 480-2         Filed 12/11/24      Page 14 of 41




that the Department of Justice must undertake before submission. Among other items, the FISC

must find that probable cause exists that the subject of the FISA warrant is a foreign power or

agent of a foreign power. Unlike a Title III wiretap, FISA requires that “a significant purpose” of

the surveillance is to obtain foreign intelligence. FISA also requires that all surveillance be

minimized to the extent possible.

     40.       In 2023, the Department of Justice stated that it filed 327 FISA applications, 313

of which included requests for the authority to conduct electronic surveillance. The technology

used in electronic surveillance is incredibly sophisticated. The technology used to mine the

communications intercepted is also incredibly sophisticated.

     41.       Under FISA Section 702, the Government may also seek authority to intercept

communications of a person that is not inside the continental United States and is a foreign

person. The goal is to collect foreign intelligence. However, since communications are with two

or more persons, whose identities are not always readily apparent, sometimes communications

are incidentally collected involving U.S. persons. Such communications may still be used for

intelligence purposes. On April 20, 2024, President Biden signed into law the latest iteration of

FISA. The law itself is less than 50 years old, having been originally conceived in 1978, and has

evolved over time, especially after 9/11.

     42.       Section 702 of FISA mandates that a FISA warrant “may not intentionally target a

person reasonably believed to be located outside the United States if the purpose of such

acquisition is to target a particular, known person reasonably believed to be in the United

States.” This one sentence is incredibly important to the rubric of FISA 702. First, the target

person (and their communications) must be outside of the United States. Moreover, a foreign


                                                 13
    Case 4:19-cv-07123-PJH             Document 480-2         Filed 12/11/24      Page 15 of 41




person cannot be targeted for FISA 702 collection when the actual, or even tangential, goal is to

target a U.S. person. Finally, a foreign person cannot be targeted for FISA collection when the

actual, or even tangential, goal is to target a person, regardless of nationality or citizenship, that

is known to be in the United States.

      43.       In addition to the arduous task of getting court approval for a FISA warrant, the

recent Reforming Intelligence and Securing America Act builds in additional hurdles and

safeguards to every FISA application.

      44.       There are criminal and civil penalties for violations of FISA by law enforcement

or intelligence agencies. The intended impact of criminalizing certain behaviors by law

enforcement or the intelligence agency is to ensure compliance with the law and strike the

balance between national security and lawful intercept. In addition to the legal penalties, the FBI

has significant policies against FISA abuses carrying punitive results, to include termination.

      45.       Based on my experience, Pegasus or similar software capabilities could be

lawfully deployed in the United States by American law enforcement.

      Lawful Surveillance Is Used by Individual States

      46.       Not every state allows for the lawful intercept of communications, like the federal

Title III framework. This is not to say that state law enforcement does not want or does not need

the capability. Quite to the contrary, states often partner with federal agencies on investigative

operations precisely so they can harness the power of federal capabilities, to include

communications intercept. Roughly 90% of all prosecutions take place at the county or state

level. Most do not require sophisticated software or communications intercept technology, but

certainly the most complex cases do. It is my experience that any data or information from


                                                  14
    Case 4:19-cv-07123-PJH           Document 480-2         Filed 12/11/24       Page 16 of 41




communications by a defendant is incredibly helpful in a criminal investigation. Whether it is a

recorded jail call, cell site location information, or a lawful communications intercept, the ability

to use communications data or information in an investigation and subsequent prosecution is

often vital to the success of the case. I have personally introduced such evidence successfully at

trial and relied on such data or information to secure a conviction that withstood appeal.

     47.       Most states follow a similar rubric to Title III in the lawful intercept of

communications. Each state has a different process for approvals and application, but none that I

reviewed are significantly different than the restrictions and requirements of a basic Title III

intercept order. In Alabama, only the Alabama Law Enforcement Agency can engage in a

wiretap. Police and sheriff departments cannot. In California, the state Attorney General or a

District Attorney must affirm under oath that the probable cause developed regarding the

predicate offense in the application is true and accurate. In New Jersey, the criminal offenses

associated with intercepting communications do not apply to law enforcement so long as the

capture is for a law enforcement purpose and lawful. Other states have similar restrictions,

requirements, and predications.

     Lawful Surveillance Is Used by Foreign Governments

     48.       The United States is not unique in allowing government agencies to make use of

lawful-intercept technologies.

     49.       Based on my experience working in the U.S. Department of Justice and

independent research, I am aware that other nations have legal rubrics permitting law

enforcement, military, or intelligence agencies to lawfully intercept communications. I am not

an expert in the laws of any particular foreign nation, but I know that many foreign nations allow


                                                 15
    Case 4:19-cv-07123-PJH            Document 480-2         Filed 12/11/24      Page 17 of 41




for the lawful interception of communications, including electronic communications. Many of

those jurisdictions impose requirements to obtain authorization for such interceptions, as does

the United States.

     50.       A 1975 comparative study performed by staff at the Library of Congress, for

example, suggests that the enactment of various wiretapping or electronic surveillance laws, as

well as exceptions for lawful interception by law enforcement or authorized government agents,

was widespread. The study indicates that Australia, Canada, France, the Federal Republic of

Germany (i.e., West Germany), Great Britain, India, Italy, Japan, Mexico, Spain, and Sweden

had all enacted some form of wiretapping or electronic surveillance laws while also allowing for

lawful interception.

     51.       More recent sources (circa 2010) describe the laws of the United Kingdom,

Australia, New Zealand, the United States, Canada, France, and The Netherlands as generally

allowing the lawful interception of communications with prior judicial authorization. India also

permitted the interception of telephonic conversations.

     52.       Another publicly available database compiled by Vodafone Group with support

from Hogan Lovells provides information for at least fifty-seven counties. A sampling of those

records, which were last updated between 2017 and 2022, indicates that the vast majority of

those countries permitted law enforcement agencies or national security agencies to conduct

lawful intercepts as of the date that the online database or relevant entries were last updated.

     53.       In my experience, the lawful interception of communications by a foreign nation

state, such as a U.S. ally, can and has facilitated the protection of the United States.




                                                  16
    Case 4:19-cv-07123-PJH           Document 480-2         Filed 12/11/24      Page 18 of 41




       C.      MODERN SURVEILLANCE TOOLS ARE SIMILAR TO OLDER
               LAWFUL INTERCEPT TOOLS

     54.       Pegasus or software tools like it are the natural evolution of lawful intercept tools.

While the new tools take advantage of new technology, the functions remain similar to late 20th

century technology – intercepting communications being sent and received, seizing information

in the target’s possession, and conducting audio and video surveillance.

     55.       Over time, however, the technologies being deployed by bad actors have changed.

When Title III became law, American law enforcement didn’t have the internet or software

applications on cell phones. Even when we passed the PATRIOT Act, we did not have the

technology we have today. Then, we had BlackBerrys. Now we have advanced computers in

our phones with a variety of applications with powerful capability and end-to-end, or zero

access, encryption.

     56.       Criminal organizations, foreign terrorist organizations, and domestic terrorists or

organizations are deploying more sophisticated means by which they plan and execute their

nefarious activities. The use of these increasingly sophisticated means of communication by

criminal and terrorist organizations is designed exclusively to avoid detection or capture by law

enforcement and intelligence agencies. These criminal and terrorist groups have been enabled by

software companies, application developers, and even hardware corporations due to readily

available encryption capabilities. End-to-end encryption (“E2EE”) allows for messages to

become indiscernible in transit between communication devices. This poses a great challenge

for the lawful intercept of communications. E2EE is available on something as simple as any iOS

platform or with certain applications subscribed to by the end-to-end users.



                                                 17
    Case 4:19-cv-07123-PJH           Document 480-2         Filed 12/11/24      Page 19 of 41




     57.       Moreover, mobile devices contain a great deal of data that are often protected by

strong encryption or cryptographic measures. As a practical matter, this makes the seizure of a

locked cellular device or tablet a useless collection. Without the ability to view the data and

information contained on a device, the seizure accomplishes very little.

     58.       There is perhaps no better example of the encumbrances posed by tech companies

than the 2015 terrorist attack in San Bernardino, California. There, two terrorists (Syed Rizwan

Farook and Tashfeen Malik) murdered fourteen people and injured nearly two dozen others

during a meeting at an office holiday party at the Inland Counties Regional Center in San

Bernardino, California. This remains as one of the deadliest mass shootings in American history.

It immediately became clear to law enforcement that this attack was inspired or motivated by

foreign terrorist organizations’ propaganda.

     59.       Not knowing if other perpetrators were involved in this terrorist attack, or whether

future attacks loomed, the FBI attempted to exploit immediately the cellular device of Farook’s

phone. Unfortunately, despite the phone belonging to the county government, which gave its full

consent to search the phone, the FBI was unable to secure assistance from Apple, Inc. to

successfully exploit the information within that device. The lawful exploit of the

communications and information on Farook’s phone was not the subject of any Fourth

Amendment constraints for a variety of reasons. The FBI sought, and was granted, a court order

that mandated that Apple, Inc. provide the FBI with the ability to access the phone. Apple, Inc.,

despite the possibility of imminent future terrorist attacks in the United States, refused to

cooperate and provide any meaningful technical assistance, clinging instead to an internal policy.

Apple, Inc. sought to challenge the court order (and ensuing court orders). The litigation ceased


                                                 18
    Case 4:19-cv-07123-PJH            Document 480-2         Filed 12/11/24    Page 20 of 41




after the FBI used sophisticated third-party software to fully exploit the phone. But for the

existence and deployment of the sophisticated software, the FBI may not have ever been able to

inspect the contents of a terrorist’s device.

     60.       End to end encryption has also more recently foiled the FBI’s attempts to

investigate the attempted assassination of former President Trump. As publicly reported,

Thomas Matthew Crooks was killed by a Secret Service counter-sniper team after firing at least

eight shots toward the stage during a July 13 campaign rally in Butler, Pennsylvania. The FBI

was able to break into Crooks’ smartphone using technology from Israeli intelligence company

Cellebrite, but has not been successful in accessing his encrypted messages on three messaging

services. FBI Director Christopher Wray testified recently before the House Judiciary

Committee that investigators still have no firm grip on Crooks’ motive or ideology. “This has

unfortunately become very commonplace,” he said. “It's a real challenge not just for the FBI but

for state and local law enforcement all over the country.”

     61.       By allowing communications to occur on encrypted platforms without giving law

enforcement or intelligence officials the ability to decrypt the communications, applications like

WhatsApp, Signal, and Telegram enable criminals and terrorists to discuss their illegal, and often

deadly schemes without fear of detection. The secrecy provided by these applications allows

wrongdoers to commit all kinds of nefarious conduct, including child abuse and other violent

crimes, financial crimes, and terrorism.

     62.       Lawful access to devices, and the data or communications and information

contained within them, is imperative to public safety and national security. The use of

widespread and increasingly sophisticated encryption technologies significantly impairs, or


                                                 19
    Case 4:19-cv-07123-PJH           Document 480-2         Filed 12/11/24      Page 21 of 41




entirely prevents, many serious criminal and national security investigations, including those

involving violent crime, drug trafficking, child exploitation, cybercrime, and domestic and

international terrorism. Criminals and terrorists cannot be allowed to control whether they can be

lawfully surveilled, to the detriment of both national security and public safety.

     63.       This is exactly why sophisticated communications intercept technology is

necessary and just the natural extension of current, sometimes outdated, lawful interception

methods. Criminals and criminal organizations are communicating with increasingly

sophisticated software and methods. Foreign terrorist organizations are communicating with

increasingly sophisticated software and methods. It would be an affront to national security and

public for law enforcement and the intelligence community to be unable to counter the

technologies deployed by criminals and terrorists.

     64.       The next generation of lawful intercept must be able to continue collecting the

types of data previously available to law enforcement and allow for the collection of new data

streams, while also overcoming the currently deployed generation of criminal activities and

threats to national security. I have reviewed materials summarizing the capabilities of NSO’s

Pegasus technology, and it appears designed to capture more traditional forms of

communications or information (e.g., written communications, the content of audio calls, the

content of conversations within range of an activated microphone, call logs, location data, etc.),

while also providing law enforcement access to new data streams (e.g., text and social media

messages, browsing history, installed applications, Wi-Fi networks, etc.). Such advanced

software can be further fortified by advanced analytics software, able to correlate the data into

discernible intelligence in nanoseconds. Pegasus and similar software intended to combat the


                                                 20
    Case 4:19-cv-07123-PJH           Document 480-2        Filed 12/11/24      Page 22 of 41




proliferation of E2EE are simply logical extensions of existing lawful-intercept tools. Criminal

and terrorist elements continue to evolve the sophistication of their communications to avoid

detection and law enforcement and the intelligence community must outpace this evolution

technically.

       D.      INTERCEPT TECHNOLOGIES SUCH AS PEGASUS PROVIDE
               ENORMOUS PUBLIC BENEFITS

     65.       In my experience, the successful uses of lawful-intercept technologies are rarely

publicized, due to the confidential and highly sensitive nature of the law enforcement,

antiterrorism, or intelligence investigations in which they are used.

     66.       Based on public reports, however, there are obvious benefits to next-generation

lawful intercept technologies, including Pegasus.

     67.       One publicly known success is the reported use of Pegasus by the Mexican

government to capture Joaquin Guzman, better known as El Chapo. Guzman was the leader of

the Sinaloa Cartel, one of the deadliest criminal organizations on the planet. The Sinaloa Cartel,

with which I have experience, is responsible for the deaths of hundreds of thousands of people

worldwide by its hand or by its distribution of synthetic narcotics, including fentanyl and others.

Guzman had evaded or escaped from Mexican authorities for decades, building his drug empire

all the while. In 2016, Guzman was captured and extradited to the United States. The United

States Attorney’s Office for the Eastern District of New York handled the prosecution and

charged Guzman with multiple counts of drug trafficking, distribution, murder, and other

charges. He was convicted on all counts and is serving a “life plus 30” prison sentence at the

ADX facility in Florence, Colorado. But for Pegasus software or some other tool with similar

capabilities, it is unlikely that the Mexican authorities would have been able to determine the

                                                 21
    Case 4:19-cv-07123-PJH           Document 480-2           Filed 12/11/24   Page 23 of 41




whereabouts or locations of Guzman and his associates. According to public information, such

crime intelligence was useful in the capture, prosecution, and conviction of El Chapo. While the

United States did not deploy Pegasus, the United States certainly was a direct beneficiary of its

deployment. Among other examples, Pegasus was reportedly used to track Israeli hostages held

by Hamas, and European authorities have deployed Pegasus to combat terrorism, organized

crime, and a global child-abuse ring.

     Pegasus Has Been Used by Countries Throughout the World

     68.       There are reports that Pegasus software has been sold and deployed in several

countries throughout the world, to include Five Eyes nations that regularly share signals

intelligence with the United States. The use of Pegasus by those nation states is presumably

within the boundaries of the intercept laws in that nation.

       E.      SOME VENDORS PLACE DISCRETIONARY RESTRICTIONS ON THE
               USE OF SURVEILLANCE TECHNOLOGY


     69.       The legal strictures for the lawful interception of communications are onerous and

complex in a normal circumstance. In addition, there are ethical and end-user restrictions in

software licensing agreements imposed by responsible software and analytics platform

companies. These restrictions often require some combination of ethical use of the software,

legitimate end-user or use case purpose, and compliance with legal and international norms,

guidance, and policies. These additional standards of use by the end user imposed by the seller of

a Software-as-a-Service (SaaS) or Platform-as-a-Service (PaaS) create additional compliance

hurdles for the users of the software or platform. The end user licensing agreements (EULA) of

certain software or platforms impose user conditions and restrictions and any violation of the

EULA can, and often does, result in discontinued licensing of use of the software or platform.
                                                 22
    Case 4:19-cv-07123-PJH            Document 480-2        Filed 12/11/24      Page 24 of 41




     70.       For example, the U.S. Federal Bureau of Investigation obtained a license for and

tested NSO’s surveillance technology in criminal investigations, according to authorized public

sources. The FBI was required to certify that the tool would be used only to collect data from

mobile devices for the prevention and investigation of crimes and terrorism, in compliance with

privacy and national security laws. That is an example of an end-user licensing agreement that

restricts the end-user’s authorized use of the tool.

     71.       Recognizing that many uses cases involve counter-intelligence and counter-

terrorism purposes, the United Nations publishes international standards for human rights

articulated in the United Nations Guiding Principles on Business and Human Rights (“UNGPs”),

the Organization for Economic Cooperation and Development Guidelines for Multinational

Enterprises, and the Counter Terrorism Legal Training Curriculum. These guiding principles are

not mandated by law, but they encourage compliance from both developers and end-users and

require a minimization of risk of abuse.

     72.       Refusal to provide a license to a government or an end-user that poses a high risk

of misuse is an appropriate due diligence effort by the developer. The mitigation of any proven

violations should also be continuous and, when justified, result in removing the end-user’s

permission to use the tool.

     73.       Violations may be difficult for vendors to discover, such as covert use of the

technology for unauthorized purposes, because government agencies are unwilling to identify the

targets of national security or other covert investigations. Inserting contractual limitations on

access controls, use cases, and targets of deployment are also common mitigation measures for

ethical vendors committed to ensuring the lawful use of software or platforms. Another such


                                                  23
    Case 4:19-cv-07123-PJH          Document 480-2        Filed 12/11/24     Page 25 of 41




measure would be requiring a customer’s cooperation in any investigation of potential misuse,

with suspension or disconnection of service as a consequence of failure to cooperate.



Executed August 30, 3024.



                                                            _______________________________
                                                            Jay Town




                                               24
Case 4:19-cv-07123-PJH   Document 480-2   Filed 12/11/24   Page 26 of 41




                             APPENDIX I




                                 25
           Case 4:19-cv-07123-PJH         Document 480-2       Filed 12/11/24     Page 27 of 41




                                   Jay E. Town
                                   Vice President & General Counsel,
                                             Gray Analytics
                                    Former United States Attorney,
                                     Northern District of Alabama



 EDUCATION

   UNIVERSITY OF NOTRE DAME                                           South Bend, Indiana
       B.A., Government & International Relations – 1995


   SETON HALL UNIVERSITY SCHOOL OF LAW                                Newark, New Jersey
       Juris Doctor – 1998
   BAR MEMBERSHIPS
United States Supreme Court, 2012; Alabama, 2005; New Jersey, 2002; Indiana, 1998


 PROFESSIONAL EXPERIENCE
GRAY ANALYTICS, INC.                                                            Huntsville, Alabama
   Vice President & General Counsel, 2020-Present
      o Provide legal and corporate governance advice directly to the President and Chief Executive
        Officer on vast array of legal and contractual issues, to include personnel matters, prime
        contract vehicles, contract and non-disclosure agreement reviews, and other risk management
        concerns that arise in a corporate environment.
      o Provide corporate legal advice to senior executives regarding myriad legal and contractual
        issues, to include, but notwithstanding, review of government contracts, commercial
        subcontracts, nondisclosure agreements, commercialization agreements, FAR and DFARS
        issues, procurement integrity, human resources issues, and other legal realities of corporate
        governance.
      o Develop business for the full spectrum of the suite of services offered by Gray Analytics, to
        include ATHENA.i™: Advanced Analytics for Law Enforcement, cyber security and maturity
        services, monitoring services abating against organization conflicts of interest for corporate
        mergers and acquisitions, internal investigations for companies experiencing breach,
        disruption, or criminal activities, digital forensics, and other technical services provided by
        Gray Analytics.



1 (Jay E. Town)

                                                     26
           Case 4:19-cv-07123-PJH         Document 480-2         Filed 12/11/24     Page 28 of 41


      o Project lead for ATHENA.i™: Advanced Analytics for Law Enforcement solution, which is a
        data correlation framework solution designed for local, state, and federal law enforcement and
        intelligence agencies which harnesses the capabilities of artificial intelligence, machine
        learning, and large language modeling.
      o Manager of company projects ranging from advanced analytics for federal and state law
        enforcement, AI/ML projects, cyber security, and corporate and internal investigations,
        including performance oversight of employees and staff.
      o Engage in marketing efforts for Gray Analytics involving various subject matters, related and
        unrelated to the corporate mission, which include the conduct of interviews with print, radio,
        and television media, penning of opinion pieces, drafting of law review articles, and other
        outreach on behalf of Gray Analytics.
U.S. ATTORNEY’S OFFICE, NORTHERN DISTRICT OF ALABAMA Birmingham, Alabama
   United States Attorney, 2017-2020
      o Nominated by President of the United States Donald J. Trump on June 12, 2017, to serve as
        the chief federal law enforcement officer in the Northern District of Alabama.
      o Confirmed by the United States Senate by unanimous vote on August 3, 2017, to serve as U.S.
        Attorney for the Northern District of Alabama and sworn in on August 11, 2017.
      o Oversaw all federal criminal prosecutions in the Northern District of Alabama, setting
        prosecutorial records, especially as the prosecutions related to crime guns and illegal firearms,
        in 2017, 2018, and 2019.
      o Coordinated with local, state, and federal law enforcement, to include Alabama District
        Attorneys and the Alabama Attorney General, to ensure the criminal prosecution of repeat and
        career offenders in the jurisdiction that offered the greatest sanction.
      o Coordinated and provided oversight to lawful communication interceptions under Title III of
        the Omnibus Crime Control and Safe Streets Act and the Foreign Intelligence Surveillance Act.
        Coordination was by and between multiple federal agencies or other United States Attorneys
        Offices. Law enforcement activities were often coordinated between multiple local, state, and
        federal agencies.
      o Coordinated and provided oversight on the prosecution of complex criminal activities and
        conspiracies to engage in terrorist activities, dealing with multiple agencies and jurisdictions.
      o Oversaw and managed all federal civil litigation involving the United States in the Northern
        District of Alabama, to include, but notwithstanding qui tam actions, false claims, procurement
        fraud, health care fraud, bankruptcy, civil defense, and civil rights violations.
      o Managed both the Birmingham Headquarters Office and Huntsville Branch Office, collectively
        consisting of over 120 full time and part time employees, while also setting the investigative
        priorities for all of the federal law enforcement agencies operating in the Northern District of
        Alabama, to include the Federal Bureau of Investigation (FBI), Drug Enforcement
        Administration (DEA), Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF), United
        States Marshals Service (USMS), Department of Homeland Security (DHS/ICE), United States



2 (Jay E. Town)

                                                      27
           Case 4:19-cv-07123-PJH         Document 480-2        Filed 12/11/24      Page 29 of 41


          Secret Service (USSS), United States Postal Inspectors Service (USPIS), and various other
          agencies and Offices of Inspectors General.
      o Oversaw and managed all federal criminal investigations, grand jury investigations, and
        resulting prosecutions involving violations of federal criminal laws, to include, but
        notwithstanding, career violent offenders, health care fraud, mail fraud, wire fraud, kidnapping,
        illegal firearms, organized crime, illegal narcotics possession and trafficking, human
        trafficking, procurement integrity, illegal immigration./reentry, and criminal civil rights
        offenses.
      o Oversaw and managed an annual of budget of $13 million, to include accounting for
        expenditures ranging from personnel, infrastructure, government travel.
      o Hired dozens of prosecutors and staff after an intensive vetting process that coordinated with
        a hiring committee, the Executive Office for U.S. Attorneys, and the Department of Justice.
      o Served as Chairman, President’s Commission on Law Enforcement and the Administration of
        Justice Subcommittee on Criminal Justice System Personnel Intersection, which coordinated,
        led, and managed a national effort to improve the criminal justice system in the United States.
        This Presidential Commission was the first of its kind in over fifty years.
      o Served as Chairman, Servicemembers & Veterans Rights Subcommittee to the Attorney
        General’s Advisory Committee, which led all Department of Justice initiatives and protection
        measures relating to current, former, and future members of the Armed Forces.
      o Served as Member, Management, Personnel, & Performance Subcommittee to the Attorney
        General’s Advisory Committee, which oversaw all expenditures within the Department of
        Justice and proposed new infrastructure, software, and personnel initiatives to be ultimately
        considered by the Attorney General of the United States.
          Served as Member, Law Enforcement Coordination Subcommittee to the Attorney General’s
          Advisory Committee, which oversaw all initiatives in support of local, state, and federal law
          enforcement, to include grant funding, training, and policy expansions.
      o Member, Attorney General’s Violent Crime Reduction Coordination Committee, which
        coordinated and promulgated nationwide crime fighting measures such as Project Safe
        Neighborhoods and Project Guardian, serving as the lone United States Attorney on the
        committee.
      o Member, Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) National Crime Gun
        Intelligence Governing Board which coordinated, promulgated, and promoted ATF initiatives
        across the nation, to include the National Integrated Ballistic Information Network (NIBIN),
        Crime Gun Intelligence Centers, and the National Correlation & Training Center.
      o Recipient of 2020 Project Safe Neighborhoods Crime Reduction Program of the Year for
        creating the Prosecutor-to-Prosecutor Program (P3), which developed a system for state and
        federal prosecutors to share crime intelligence and make prosecutorial decisions that served to
        reduce crime, especially violent crime, in the Northern District of Alabama. The P3 Program
        is now nationally renowned crime reduction program having been implemented in several U.S.
        Attorney districts across the country.



3 (Jay E. Town)

                                                      28
           Case 4:19-cv-07123-PJH         Document 480-2         Filed 12/11/24     Page 30 of 41


MADISON COUNTY DISTRICT ATTORNEY’S OFFICE                                  Huntsville, Alabama
       State Prosecutor (Assistant District Attorney), 2005 to 2017
      o Investigated, managed and ultimately prosecuted cases involving every aspect of criminal
        prosecution, to include capital murder, murder, robbery, fraud, theft, embezzlement, narcotics
        possession/distribution and burglary. Case load ranged from 800-1000 cases per year.
      o Prosecuted violent crimes and other felonies before dozens, if not scores, of juries as both lead
        and assistant (second chair) counsel.
      o Legislative liaison for the Alabama District Attorneys Association, working in concert with the
        Alabama Office of the Attorney General and District Attorneys from across the State of
        Alabama, responsible for the identification and drafting of statewide laws impacting the
        Alabama criminal justice system, including, but notwithstanding, the Fair Justice Act, Victims
        Bill of Rights and Jurors Bill of Rights.
      o Primary prosecutor charged with assisting the District Attorney in managing the operation of
        the Madison County District Attorney’s Pretrial Intervention Program, to include the drafting
        of the policies governing the program, providing explanations to attorneys and judges about
        the parameters of the program and overseeing the employees who handle daily operations.
      o Prosecuted thousands of criminal charges and defendants since 2005 managing one of the
        largest caseloads in the State of Alabama, securing convictions in each jury trial for charges
        ranging from Capital Murder to Robbery, Assault, Burglary or Theft.
      o Teach Continuing Legal Education courses for both prosecutors and attorneys from across the
        State of Alabama regarding criminal procedure, updates in criminal law, advances in Alabama
        appellate processes and practical usage 4th, 5th and 6th Amendment issues in the prosecution of
        myriad types of crimes.
      o Conduct and organize various seminars for members of law enforcement, to include training
        regarding organized crime, white collar crime, joint task force investigations, criminal
        procedure as it relates to search and seizure, criminal procedure as it relates to arrests and
        interrogation and advances in law enforcement technology and investigation techniques.
          Prosecutorial duties include managing every facet of prosecution from inception through
          trial/plea, research and drafting of innumerable motions, conducting fact investigations,
          drafting procedural motions, developing grand jury investigations, preparing witnesses for
          testimony at trial, and developing prosecution strategy.
      o Developed and instituted the first ever Veterans Treatment Court in Madison County with a
        sitting Circuit Court Judge which diverts from prosecution veterans in need of veterans services
        in an effort to strengthen and embolden each participant’s value to the community.
MCELROY, DEUTSCH, MULVANEY& CARPENTER, LLP                          Morristown, New Jersey
Firm Associate, 2002 to 2005
      o Provided global legal advice as outside general counsel for Fortune 500 companies such as
        Johnson & Johnson, Raytheon, AT&T, Bristol Myers Squibb and Bayer Pharmaceutical
        regarding issues ranging from federal criminal investigations, FDA issues, class action suits,
        contract claims and private civil suits.


4 (Jay E. Town)

                                                      29
           Case 4:19-cv-07123-PJH         Document 480-2        Filed 12/11/24      Page 31 of 41


      o Served as counsel to companies and individuals being investigated by various United States
        Attorney’s Offices, to include the District of New Jersey, managing and assisting in every
        aspect of those cases throughout the investigative process, assessing and analyzing evidence
        related to the cases and preparing for litigation.
      o Investigated and managed cases involving complex commercial litigation, surety, labor &
        employment law, white collar criminal defense and insurance defense litigation in federal and
        state courts.
      o Lead a large team of associates, paralegals and legal assistants in the defense of a large
        pharmaceutical and commercial medial company overseeing attorneys and all staff in the
        review and distribution of requested materials to federal authorities.
      o Responsibilities included managing all aspects of litigation from inception through trial,
        research and drafting of appellate briefs and dispositive motions, conducting fact investigations
        and depositions, drafting procedural motions, preparing witnesses for testimony at trial and
        deposition, and developing litigation strategy involving both civil and criminal practice.
      o Defended myriad white collar criminal allegations and issues to include, but notwithstanding,
        corporate fraud, insurance fraud, health care fraud, conspiracy and Racketeering.
      o Primary industries represented were major pharmaceutical companies, household consumer
        corporations and insurance/surety companies.
UNITED STATES MARINE CORPS - Judge Advocate (Rank: Major/O-4)
       Operational Lawyer, Headquarters Marine Corps, Washington, D.C.            Mar ’04 to Apr ‘08
      o Conducted and reviewed investigations directly for the Staff Judge Advocate to the
        Commandant of the Marine Corps regarding myriad issues, occurrences and incidents
        involving Marines in the Global War on Terror.
      o Advised deploying Commanders on operational legal readiness, rules of engagement, laws of
        armed conflict, military justice, criminal/administrative investigations, and myriad other legal
        issues associated with deployment to, and conduct of operations within, a theater of war.
      o Primary responsibilities were to investigate and report various tactical failures and command
        “lessons learned” at command and joint command levels, to include review of administrative
        and criminal investigations of misconduct occurring in both Iraq and Afghanistan theaters of
        war.
      o Provided pre-mobilization and pre-deployment legal assistance to commands and their judge
        advocates in order to ensure operational readiness and enhance deployment capabilities.
      o Coordinated with military intelligence to operationalize strategy and commander’s intent, to
        include SIGINT.
     Trial Counsel, 1st Force Service Support Group, Camp Pendleton, California Nov ’00 – Aug ‘02
      o Investigated and prosecuted over 300 cases in the busiest legal section in the entire DOD at the
        infamous Legal Team Echo.
      o Secured convictions in each of my nearly two dozen special and general courts-martial.



5 (Jay E. Town)

                                                      30
           Case 4:19-cv-07123-PJH         Document 480-2        Filed 12/11/24      Page 32 of 41


      o Secured convictions or separation in countless Summary Court Martials and Administrative
        Separation matters.
      o Range of cases includes conspiracy to commit murder, rape, indecent acts, felony larceny,
        obstruction of justice, child sexual abuse, narcotics distribution, assault & battery, extortion,
        and unauthorized absence.
       Deputy Staff Judge Advocate, 1st Marine Aircraft Wing, Okinawa, Japan, Oct ’99 – Nov ‘00
      o Advised Commanding Generals and all subordinate commanders on military justice,
        environmental law, ethics, criminal/administrative investigations, operational law, and Status
        of Forces Agreements.
      o Directed commanders and troops on the rules of engagement and handling of enemy prisoners
        of war during pre-deployment and while deployed in the Pacific Theater of Operations.
      o Trained deploying marines on the tactical advantages of the laws of armed conflict as they
        related to various exercises and operations.
      o Coordinated training with military intelligence, to include SIGINT and HUMINT, during
        various Wing and joint exercises.
   UNIVERSITY OF ALABAMA-HUNTSVILLE – Adjunct Professor
       UAH Adjunct, Department of Political Science, 2009 to 2011
      o Professor of Political Science for undergraduate and graduate studies.
      o Instructor in courses regarding laws of armed conflict, modern warfare, executive war powers,
        congressional war powers and all aspects of the Hague and Geneva Conventions.
      o Developed all course and lecture materials, to include drafting of examinations, syllabuses and
        course outline materials.
      o Organized and conducted guest speaking appearances on relevant contemporary subject matter.


CHARITABLE & PHILANTHROPIC EXPERIENCE
   CONGRESSIONAL MEDAL OF HONOR FOUNDATION                             Mt. Pleasant, South Carolina
      o Director, Foundation Board of Directors (2014 to Present), responsible for the fiduciary
        oversight of the operation of the Foundation, a 501(c)3 charitable organization, to include
        management of the President/CEO, asset accountability and program development.
      o Emeritus Director to the Foundation, having been voted as such by all sitting directors to the
        seat after being forced to resign all charitable boards when accepting my appointment as United
        States Attorney in 2017.
          Member of the Foundation Executive Committee providing overall guidance to the Chairman
          and other Executive Committee members regarding the direction of the organization, to include
          managing a budget and endowment in excess of $10m annually, developing and monitoring
          programming in all 50 states and continually engaging national outreach with various
          governmental and charitable organizations regarding those values that endow the Medal of
          Honor.

6 (Jay E. Town)

                                                      31
           Case 4:19-cv-07123-PJH         Document 480-2        Filed 12/11/24     Page 33 of 41


      o Chairman, Audit Committee, charged with overall review of the financial stability and health
        of the Foundation’s assets and expenditures with full reporting requirements to the Board at
        large.
      o Former Chairman, Foundation’s Executive Council, charged with conduct of development and
        projects as directed by the Board of Directors which included the draft of a Strategic Plan for
        the nationwide rollout of the Foundation’s Character Development Program, a teaching
        resource for educators currently being implemented in schools nationwide.
      o The Congressional Medal of Honor Foundation is a national organization and Board works in
        concert with all living recipients of the Medal of Honor to ensure that programs and necessary
        outreach are developed to ensure that the legacy of the Medal and those values that endow the
        Medal of Honor remain a focal point of social consciousness and educational trust.
      o Hosted the “Medal of Honor Gala: In the Company of Heroes” in 2010 which was the largest
        assembly of Medal of Honor recipients ever in the history of the State of Alabama and raised
        nearly a half-million dollars that went toward the Foundation’s Character Development
        Program.


   AMERICA’S WARRIOR PARTNERSHIP                                                      Augusta, Georgia
      o Emeritus Director (2022 to Present), continue to advise the Board of Directors and AWP
        personnel regarding mission specific goals and projects.
      o Director, Vice Chairman and Executive Committee Member, Augusta Warrior Project Board
        of Directors (2013 to 2022), responsible for the fiduciary oversight of the operation of AWP, a
        501(c)3 charitable organization, to include liaising and partnering with the Wounded Warrior
        Project, The Bob Woodruff Foundation, myriad federal and state agencies and several other
        national veterans organizations.
      o Emeritus Director, having been voted by all sitting directors to the seat after being forced to
        resign all charitable boards due to a Presidential internal rule when accepting my appointment
        as United States Attorney in 2017.
      o Implement and expand the national scope and outreach of AWP’s “Community Integration
        Program” which is the national leader in the holistic integration of veterans services in
        communities nationwide to provide for a more comprehensive approach to veterans care and
        caregiver support.
      o The Augusta Warrior Project is a national organization and Board with the primary mission is
        reduction of veteran suicide and consolidating veterans’ services in large population centers so
        that veterans are ensured full beneficiary of all services, benefits and programs available, to
        include services from private, state, federal and defense department organizations.
      o Created and national standardized Veterans Treatment Court model and handbook, in
        collaboration with several veterans services organizations and the American Bar Association,
        which allows any jurisdiction to attain this model free of charge and easily implement a
        Veterans Treatment Court program with full explanation of roles and responsibilities of all
        parties.


7 (Jay E. Town)

                                                     32
           Case 4:19-cv-07123-PJH         Document 480-2        Filed 12/11/24     Page 34 of 41




BOYS & GIRLS CLUBS OF NORTH ALABAMA                                        Huntsville, Alabama
       o Director, Boys & Girls Clubs of North Alabama Board of Directors (2006 to 2015), responsible
         for the financial and fiduciary oversight of this 501(c)3 charitable organization.
       o Served as Chairman of the Board (2007-09) and Vice Chairman of the Board (2006-07),
         managing all directors and direction of board meetings, programming and employee oversight,
         to include the management of a $5m budget.
       o Served on the Board of Directors faithfully since 2006 until being nominated and elected as
         the Vice Chairman-Chairman Elect.
       o Delegated authority to Executive Committee members, Board members and staff to accomplish
         the daily, monthly and annual goals of the Clubs.
       o The Boys & Girls Clubs of North Alabama is a regional organization and Board in service to
         youth.


PUBLICATIONS & SCHOLARLY ARTICLES
-   Law Review Articles
       o Counting Heads: The Decennial Census and Adjustments to Enumeration, Notre Dame Law
         Review Reflection, Vol. 96, Issue 3, Article 1 (2021), University of Notre Dame School of
         Law.
                 https://scholarship.law.nd.edu/cgi/viewcontent.cgi?article=1092&context=ndlr_online
       o The Digital Person: Law Enforcement & The Purchase of Data in a Post-Carpenter Age,
         Belmont Law Review, Vol. 11, Issue 1 (2023), Belmont University School of Law.
                 https://repository.belmont.edu/lawreview/vol11/iss1/1/
-   Published Opinion Articles
       o Harris is the Original Soros Prosecutor, Washington Times, August 5, 2024
                 https://www.washingtontimes.com/news/2024/aug/5/harris-is-original-soros-
                  prosecutor/
       o Here’s what Biden admin, cheerleading media get wrong on crime stats, Fox News Opinion,
         June 27, 2024
                 https://www.foxnews.com/opinion/biden-admin-cheerleading-media-wrong-crime-
                  stats
       o The reauthorization of FISA 702 was vital to national security, Yellowhammer News, May 2,
         2024
                 https://yellowhammernews.com/former-u-s-attorney-jay-town-the-reauthorization-of-
                  fisa-702-was-vital-to-national-security/
       o New York’s Prosecution of Trump Is The Perfect Lawfare Prosecution – An Anything But
         Perfect, The Daily Caller, April 18, 2024


8 (Jay E. Town)

                                                     33
           Case 4:19-cv-07123-PJH           Document 480-2         Filed 12/11/24      Page 35 of 41


                 https://dailycaller.com/2024/04/18/jay-town-new-yorks-prosecution-of-trump-is-the-
                  perfect-lawfare-prosecution-and-anything-but-perfect/
      o Why The Perception That Crime Is Rising Persists, www.TheDispatch.com, April 8, 2024
                 https://thedispatch.com/article/why-the-perception-that-crime-is-rising-persists/
      o Clean energy supply chain threatens national security, www.256Today.com, September 6,
        2022
                 https://256today.com/clean-energy-a-threat-to-national-and-economic-security/
      o The Profile Puzzle: Putting together the pieces before an active shooter attack, Yellowhammer
        News, June 4, 2022
                 https://yellowhammernews.com/the-profile-puzzle-putting-together-the-pieces-
                  before-an-active-shooter-attack/
      o The Profile Puzzle: Putting together the pieces before an active shooter attack,
        www.256Today.com, June 2, 2022
                 https://256today.com/the-profile-puzzle-putting-together-the-pieces-before-an-active-
                  shooter-attack/
      o The fatal overdose: An American tragedy, www.256Today.com, May 26, 2022
                 https://256today.com/the-fatal-overdose-an-american-tragedy/
      o China Exploiting Supply Chain Vulnerabilities, National Defense Magazine, December 9, 2020
                 https://www.nationaldefensemagazine.org/articles/2020/12/9/china-exploiting-supply-
                  chain-vulnerabilities
      o Let Trump Be Trump, www.AL.com, November 21, 2016
                 http://www.al.com/opinion/index.ssf/2016/11/let_trump_be_trump_our_enemies.html
      o Note: I have compiled this list of published opinion articles to the best of my capability and
        recollection. It is entirely possible, if not likely, that additional articles were published but are
        not referenced here.


ACHIEVEMENTS AND HONORS
       Department of Justice Project Safe Neighborhoods Program of the Year, 2020
       Keynote Speaker, Various Charitable & Government Events, 2016 to Present
       Alabama Republican Rising Star, Alabama GOP presented by Chairman Bill Armistead, 2013
       D.A.R. Medal of Honor (Nat’l Soc. of the D.A.R. (Hunt’s Spring Chapter) May 5, 2011
       Young Professional of the Year Finalist (Huntsville/Madison Co. Chamber of Commerce) 2008
       Global War on Terror Service Medal (Active Reservist during GWOT) October 1, 2005
       Armed Forces Reserve Medal         (Active Reservist during time of war) October 1, 2005
       Navy and Marine Corps Commendation Medal (Personal Performance) December 10, 2002
       National Defense Medal (Active military service post 9/11) September 11, 2001

9 (Jay E. Town)

                                                        34
           Case 4:19-cv-07123-PJH        Document 480-2       Filed 12/11/24     Page 36 of 41


       Navy and Marine Corps Achievement Medal (Performance as Trial Counsel) June 24, 2001
       Navy and Marine Corps Achievement Medal (Performance as Deputy SJA) October 26, 2000
       Dates of Rank: Major, Oct. 6, 2006; Capt, Aug. 1, 2000; 1stLt, Aug. 15, 1998; 2ndLt, Aug. 15, 1996
       Honorable Discharge: April 1, 2008




10 (Jay E. Town)

                                                    35
Case 4:19-cv-07123-PJH          Document 480-2        Filed 12/11/24   Page 37 of 41




                                     APPENDIX II

                     LIST OF INFORMATION CONSIDERED

JUDICIAL DECISIONS

x   New York Times v. U.S. Dep’t of Justice, 22-cv-1539 (JSR) (S.D.N.Y. July 7, 2023)

x   FBI v. Fazaga, 142 S.Ct 1051 (2022)

x   United States v. Moalin, 10cr4246 JM (S.D. Cal. Aug. 4, 2021)

x   Carpenter v. United States, 138 S. Ct. 2206 (2018)

x   Riley v. California, 573 U.S. 373(2014)

x   United States v. Jones, 565 U.S. 400 (2012)

x   United States v. Gonzalez, Inc., 412 F.3d 1102 (9th Cir. 2005)

x   Kyllo v. United States, 533 U.S. 27 (2001)

x   United States v. Knotts, 460 U.S. 276 (1983)

x   Smith v. Maryland, 442 U.S. 735 (1979)

x   United States v. Donovan, 429 U.S. 413, (1977)

x   Camara v. Mun. Ct. of City and Cnty. of San Francisco, 387 U.S. 523, 528 (1967)

x   Katz v. United States, 389 US 347 (1967)

x   Olmstead v. United States, 277 US 438 (1928)

LAWS

x   18 U.S.C. §119

x   18 U.S.C. §1030, et seq

x   18 U.S.C. §2510, et seq




                                              36
  Case 4:19-cv-07123-PJH          Document 480-2        Filed 12/11/24   Page 38 of 41




  x   34 U.S.C. §10101, et seq

  x   47 U.S.C. §302a, et seq

  x   47 U.S.C. §1001, et seq

  x   50 U.S.C. §1801, et seq

  x   Alabama Stat. §20-2B-2, et seq

  x   California Penal Code 502, et seq

  x   California Penal Code 629.50, et seq

  x   New Jersey Stat. §2A:156A-4, et seq

 POLICIES AND GUIDANCE

  x   Justice Manual, Title 9-7.000, U.S. Department of Justice,

      https://www.justice.gov/jm/justice-manual

  x   Jammers, Federal Communications Commission,

      https://www.fcc.gov/enforcement/areas/jammers

  x   Executive Order, President Joe Biden, March 27, 2023.

      https://www.whitehouse.gov/briefing-room/statements-releases/2023/03/27/fact-sheet-

      president-biden-signs-executive-order-to-prohibit-u-s-government-use-of-commercial-

      spyware-that-poses-risks-to-national-security/

SCHOLARLY PUBLICATIONS AND TREATISES

  x   Comparative Study on Wiretapping and Electronic Surveillance Laws in Major Foreign

      Countries, Members of Staff, Law Library, Library of Congress (1975)




                                              37
Case 4:19-cv-07123-PJH          Document 480-2        Filed 12/11/24     Page 39 of 41




x   Exploring Lawful Hacking as a Possible Answer to the "Going Dark" Debate, Carlos

    Liguori, Michigan Technology Law Review, University Michigan School of Law, 2020

    Volume 5, https://search.app/s8qA4j2F4hFiv2qPA

x   Design and implementation of a looking-forward Lawful Interception architecture for

    future mobile communication systems, Ingrid Huso, et al., Science Direct, Computer

    Networks Volume 249, July 2024,

    https://www.sciencedirect.com/science/article/pii/S1389128624003505?dgcid=rss_sd_all

x   The Aftermath of Carpenter: An Empirical Study of Fourth Amendment Law, Matthew

    Tokson, 135 Harv. L. Rev. (2022), https://harvardlawreview.org/wp-

    content/uploads/2022/04/135-Harv.-L.-Rev.-1790.pdf

x   Lawful Hacking: Using Existing Vulnerabilities for Wiretapping on the Internet, Steven

    M. Bellovin, et seq., Journal of Technology and Intellectual Property, Northwestern

    University Pritzker School of Law, 2014, Volume 12, Issue 1,

    https://scholarlycommons.law.northwestern.edu/njtip/vol12/iss1/1/

x   Electronic Surveillance and Conversations in Plain View: Admitting Intercepted

    Communications Relating to Crimes Not Specified in the Surveillance Order, John D.

    LaDue, Notre Dame Law Review, University of Notre Dame School of Law, Volume 64,

    Issue 3, Article 3, 1999,

    https://scholarship.law.nd.edu/cgi/viewcontent.cgi?article=2155&context=ndlr

x   Not a Suicide Pact: The Constitution in a Time of National Emergency, Richard A.

    Posner, Oxford University Press, 2006.

x   1 World Online Business Law, Chapter 7: Technology Surveillance




                                             38
  Case 4:19-cv-07123-PJH           Document 480-2            Filed 12/11/24   Page 40 of 41




  x   Country Legal Framework Resources, Provision of Real-time Lawful Interception

      Assistance, https://clfr.globalnetworkinitiative.org

DOCUMENTS PRODUCED IN THIS LITIGATION

  x   Complaint Exhibit 10

  x   FPM-00021846

  x   NSO_WHATSAPP_00000078

  x   NSO_WHATSAPP_00000262

  x   NSO_WHATSAPP_00045591

OTHER MATERIALS

  x   NSO Group, Transparency and Responsibility Report (2023),

      https://www.nsogroup.com/wp-content/uploads/2023/12/2023-Transparency-and-

      Responsibility-Report.pdf

  x   Israel Taps Blacklisted Pegasus Maker to Track Hostages in Gaza,

      https://www.bloomberg.com/news/articles/2023-10-26/israel-taps-blacklisted-pegasus-

      maker-nso-to-track-gaza-hostages-and-hamas

  x   Internal Documents Show How Close the F.B.I. Came to Deploying Spyware,

      https://www.nytimes.com/2022/11/12/us/politics/fbi-pegasus-spyware-phones-nso.html,

      and linked materials therein obtained by the New York Times through Freedom of

      Information Act requests

  x   The Battle for the World’s Most Powerful Cyberweapon,

      https://www.nytimes.com/2022/01/28/magazine/nso-group-israel-spyware.html

  x   https://www.justice.gov/nsd/media/1350236/dl?inline




                                               39
Case 4:19-cv-07123-PJH         Document 480-2       Filed 12/11/24     Page 41 of 41




x   Telegram Founder’s Indictment Thrusts Encryption Into The Spotlight, New York Times,

    Aug. 29, 2024, https://www.nytimes.com/2024/08/29/technology/telegram-encryption-

    pavel-durov.html

x   https://therecord.media/encrypted-apps-a-challenge-trump-assassination-attempt-wray-

    fbin




                                          40
